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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF IDAHO


ROBERT MARTIN, et al.,                                  Case No.: 1:09-cv-00540-REB

       Plaintiffs,

       vs.                                              CASE MANAGEMENT DECISION
                                                        AND ORDER, POST-APPEAL
CITY OF BOISE, et al.,

       Defendants.


       This matter is before the Court on remand following the amended opinion and mandate of

a panel of the Ninth Circuit Court of Appeals (Dkts. 320, 321). This decision (1) addresses

whether Plaintiff Pamela S. Hawkes remains a party; (2) resolves Plaintiffs’ pending Motion for

Taxation of Costs (Dkt. 316); and (3) requires Plaintiffs to file a Third Amended Complaint as a

means of putting a current frame around the remaining claims and issues in the case, consistent

with the appellate decision.

                                          DISCUSSION

       This case has a long procedural history that includes multiple dispositive motions,

multiple amendments of the Plaintiffs’ Complaint, the withdrawal and addition of numerous

attorneys representing the various parties, dismissal of several parties and claims, and two

appeals of substantive rulings against the plaintiffs followed by two remands from the Ninth

Circuit Court of Appeals. The facts and legal issues are well known to the parties and set forth in

more detail in the Court’s prior Orders. See Dkts. 152, 170, 286, 298.

   1. Plaintiff Pamela S. Hawkes Remains a Party to the Case.

       In an amended opinion, the Ninth Circuit held, inter alia, that Plaintiff Pamela S. Hawkes

may proceed on her claim for retrospective relief related to a July 2007 citation. Martin v. City

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of Boise, 920 F.3d 584, 618 (9th Cir. 2019), cert. denied, 140 S.Ct. 674 (2019). Because of

potential uncertainty as to whether Ms. Hawkes was still a party to the case at the time of the

appeal, each party was ordered to file a memorandum describing the party’s position on that

question. (Dkt. 332.) Such memoranda were filed (Dkts. 334, 335) and the Court now finds that

Ms. Hawkes does remain a party to the case for the following reasons.

       In its decision and order found at Docket No. 152, this Court granted in part and denied

in part Defendant’s Motion for Summary Judgment (Dkt. 141). All of Plaintiffs’ claims for

retrospective relief were dismissed under Heck v. Humphrey, 512 U.S. 477 (1994), based on the

Court’s reasoning that Plaintiffs’ Eighth Amendment claims could have been raised in the

context of their individual criminal prosecutions and were therefore barred in a separate

proceeding such as this. The Court further ruled that Plaintiffs’ claims for prospective relief

were not subject to dismissal but needed to be stated more particularly in a subsequent amended

complaint.

       Six Plaintiffs, including Hawkes, then filed a Revised Second Amended Complaint (Dkt.

172) alleging only an Eighth Amendment claim and seeking only prospective relief. Two

Plaintiffs were dismissed when counsel could not locate them (Dkt. 227 pp. 77, 94; Dkt. 286).

Plaintiff Hawkes was dismissed when counsel agreed that she could not state claims for

prospective relief (Dkt. 227 pp. 76, 94; Dkt. 286). At that juncture, only the Eighth Amendment

claim for prospective relief was left and the only remaining Plaintiffs were Martin and Anderson.

       After further motion practice, the Revised Second Amended Complaint was dismissed on

standing grounds, upon the Court’s reasoning that neither Martin nor Anderson could show a

credible risk of prosecution sufficient to establish a threat of imminent injury (Dkt. 298).




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       Plaintiffs then appealed (1) the ruling dismissing their retrospective relief claims at

Docket No. 152; (2) the ruling dismissing their prospective relief claim at Docket No. 298; and

(3) the Judgment at Docket No. 300. The Ninth Circuit ruled that Plaintiffs Hawkes and Martin

may pursue their retrospective relief claims as to two particular citations and that “the plaintiffs”

may pursue their prospective relief claim.

       When Plaintiff Hawkes was dismissed, the Court and counsel were contemplating her

status only as a party pursuing a claim for prospective relief. Her claims for retrospective relief

had already been dismissed. Thus, when Circuit reinstated the claims for retrospective relief as

to Martin and Hawkes, Hawkes once again had a claim in the case. Having appealed the order

dismissing her claims for retrospective relief, there was no need for her to separately or

additionally appeal her claim for prospective relief or her overall dismissal as a plaintiff.

       Thus, the sequence of relevant events was: (1) Hawkes pled a retrospective relief claim;

(2) her retrospective relief claim was dismissed in a non-final order; (3) Hawkes amended to

plead a prospective relief claim; (4) her prospective relief claim was dismissed; (5) the case was

dismissed and a judgment issued; (6) Plaintiffs (including Hawkes) appealed both the order

dismissing retrospective relief claims and the order dismissing prospective relief claims; and (7)

the Circuit panel revived part of Hawkes’s retrospective relief claim. Therefore, Plaintiff Pamela

S. Hawkes is again a party to the case, in light of the Ninth Circuit’s amended opinion.

   2. Plaintiffs’ Pending Motion for Taxation of Costs Is Denied as Moot.

       Shortly after the Ninth Circuit panel issued its initial decision on the most recent appeal

in this matter, Plaintiffs moved for taxation of costs (Dkt. 316). The appellate decision expressly

awarded costs to the plaintiffs. The motion cited Federal Rule of Appellate Procedure 39(e),




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which specifies that certain costs on appeal are taxable in the district court. However, no

mandate was ever issued with respect to that original decision.

       Instead, the panel ultimately issued an amended opinion (Dkt. 320), followed by a

mandate (Dkt. 321). The amended opinion also awarded costs to Plaintiffs, but the mandate said,

“Costs are taxed against the appellee in the amount of $553.60.” Reducing the costs award to a

sum certain created an ambiguity as to whether the pending motion for costs before this Court is

now moot. The parties were invited to clarify their position on whether the motion for taxation

of costs remains pending and viable, but neither party has done so.

       The motion was based on a Ninth Circuit panel decision that was subsequently amended.

Further, the mandate following the amended opinion calls into question whether Plaintiffs

already have been awarded the relief sought in the motion. Therefore, the Court finds the motion

moot and will dismiss the same, without prejudice to refile.

   3. Plaintiffs Must File a Third Amended Complaint.

       At the January 15, 2020 telephone status conference, Defendant argued that Plaintiffs

should file a Third Amended Complaint to restart the post-appeal litigation of the remaining

claims. Plaintiffs, on the other hand, contended that they had already won on most points and

argued for entry of a declaratory judgment, recommended that a settlement conference be

compelled, and urged setting a trial date. The Court expressed its concern over stepping back

that far, given the length of time that this case has been pending, but after further consideration

the Court concludes that an amended Complaint is the most appropriate means of putting a

current frame around the claims and issues remaining in the case.

       Importantly for purposes of this decision, the appellate decision remanding the case

revived claims from two different operative complaints: first, the retrospective relief claims



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stated in the Amended Complaint (Dkt. 53) and dismissed in Docket No. 152; and, second, the

prospective relief claim stated in the Revised Second Amended Complaint (Dkt. 172) and

dismissed in Docket No. 298. The frame created by a “new” amended complaint at this time will

reduce the potential for confusion inherent in simultaneously working with two operative

complaints, especially because the Ninth Circuit significantly narrowed the scope of the

retrospective claims.

       However, the requirement to file a Third Amended Complaint is not an opportunity to

raise new claims. Rather, it is the Court’s directive that the remaining claims be reassembled in

a single, operative, complaint, directly and solely connected to the Circuit’s amended opinion

found at Docket No. 320. This Court will not permit issues already decided to be relitigated,

either by Plaintiffs or Defendants, as the case needs to go forward to a conclusion as

expeditiously as possible.

       Hence, based on the amended opinion of the appellate panel, the Court anticipates

Plaintiffs’ Third Amended Complaint to contain, at most, the following claims: (1) Hawkes’s

claim for retrospective relief based on her July 2007 citation; (2) Martin’s claim for retrospective

relief based on his April 2009 citation; and (3) Martin’s and Anderson’s claim for prospective

relief, both declaratory and injunctive.

       Plaintiffs will have 21 days from the date of this order to file their Third Amended

Complaint. Defendants are to file a responsive pleading in the time period required by the civil

rules. No extension of time to do so will be granted. Shortly thereafter, a telephonic status

conference will be held to discuss and set scheduling deadlines going forward, including for any

discovery that may be appropriate, a dispositive motion deadline, and a trial setting.




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                                            ORDER

       Based on the foregoing, IT IS HEREBY ORDERED as follows:

1. Plaintiff Pamela S. Hawkes remains a party to the case with respect to her claim for

   retrospective relief.

2. Plaintiffs’ Motion for Taxation of Costs (Dkt. 316) is DENIED AS MOOT without

   prejudice.

3. Plaintiffs are ordered to file a Third Amended Complaint by March 10, 2020, as described

   above.



                                     DATED: February 18, 2020.




                                     _____________________________
                                     Honorable Ronald E. Bush
                                     Chief U. S. Magistrate Judge




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